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 4                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WASHINGTON
 5

 6   UNITED STATES OF AMERICA,                       CASE NO. 12-CR-6053-EFS-3

 7                              Plaintiff,
                                                     ORDER DENYING DEFENDANT’S MOTION
 8               v.                                  FOR RECONSIDERATION

 9   JOSE A. PUGA CAMPOS (3),

10                              Defendant.

11

12         Before     the   Court   is     Defendant     Jose    A.    Puga   Campos’s       pro   se

13   Motion to For a Reconsideration to Grant the Sentence Reduction Based

14   on the Amendment 782. ECF No. 1214. Defendant again asks the Court to

15   reduce his sentence pursuant to Amendment 782 to the U.S. Sentencing

16   Guidelines. Id. Defendant was sentenced on October 31, 2013, to 80

17   months imprisonment, ECF No. 858, and Judgment was entered, ECF No.

18   864. On February 4, 2015, the Court appointed prior defense counsel

19   Amanda J. Stevens to determine whether Defendant is eligible for a

20   sentence    reduction.     ECF      No.     1113.   After    reviewing      the     relevant

21   materials, Ms. Stevens determined that Defendant was ineligible, and

22   she   notified    Defendant      of   her    findings.      ECF   No.    1170.    The    Court

23   entered an Order memorializing defense counsel’s findings. ECF No.

24   1178. On July 8, 2015, Defendant filed a pro se motion asking the

25   Court to reduce his sentence pursuant to Amendment 782 despite the

26   Court’s prior finding that he is ineligible. ECF No. 1185. On July 9,

     2015, the Court denied the motion again finding that Defendant is

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 1   ineligible for a sentence reduction because his original sentence was

 2   less than the minimum of the amended Guideline range. ECF No. 1186.

 3   Defendant now asks the Court for reconsideration. The Court denies the

 4   motion and restates its prior findings here.

 5          Amendment 782 reduced the base offense level in the Guidelines’

 6   drug quantity tables by two levels.                  See U.S.S.G. § 2D1.1(c).             Under

 7   section 1B1.10 of the Guidelines, the Court may reduce a defendant’s

 8   term   of    imprisonment     if    the    applicable     Guideline        range    has    been

 9   lowered by an amendment to the Guidelines so long as the defendant

10   does   not    receive    an   imprisonment       sentence     that    is    less    than    the

11   minimum of the amended Guideline range.                  U.S.S.G. § 1B1.10(b)(2)(A);

12   see United States v. Davis, 739 F.3d 1222, 1225-26 (9th Cir. 2014)

13   (upholding      the     Sentencing       Commission’s      low-end-of-Guideline-range

14   limitation on retroactive sentencing reductions); United States v.

15   Tercero, 734 F.3d 979, 982-84 (9th Cir. 2013) (same).

16          Defendant’s      original        Sentencing    Guideline      range    was    108-135

17   months.       Statement of Reasons, ECF No. 865.                  Defendant’s Guideline

18   range after Amendment 782’s two-level base-offense-level reduction is

19   87-108 months.          ECF No. 142.           Notwithstanding a reduction in the

20   applicable        Guideline         range,         Guideline         policy        statement

21   § 1B1.10(b)(2)(A) and Application Note 3 thereto remove the Court’s

22   ability to lower an imprisonment sentence if the imposed sentence was

23   less   than    the    low   end    of    the   amended   Guideline     range.        Because

24   Defendant’s imprisonment sentence is 80 months, which is less than the

25   low end of the amended Guideline range, Defendant is not eligible for

26   a sentence reduction.




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 1           Accordingly, IT IS HEREBY ORDERED, Defendant’s Motion to For a

 2   Reconsideration to Grant the Sentence Reduction Based on the Amendment

 3   782, ECF No. 1214, is DENIED.

 4           IT IS SO ORDERED.              The Clerk’s Office is directed to enter this

 5   Order and provide copies to counsel, Defendant, and the U.S. Probation

 6   Office.

 7           DATED this           25th       day of February 2016.

 8
                                          s/Edward F. Shea
 9                                         EDWARD F. SHEA
                                Senior United States District Judge
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